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 8                        UNITED STATES DISTRICT COURT

 9                       EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,            No.   11-CR-00429-JAM
12                 Plaintiff,
13        v.                              ORDER GRANTING DEFENDANT
                                          JOHNSON’S MOTION TO DISMISS
14   DOUGLAS ARTHUR JOHNSON,
15                 Defendant.
16

17        This matter comes before the Court on Defendant Douglas

18   Arthur Johnson’s Motion to Dismiss (Doc. #78) the superseding

19   indictment (Doc. #64).     For the reasons discussed below, the

20   Court grants Defendant Johnson’s Motion and dismisses the

21   indictment against Defendant Johnson.

22                  I.    FACTUAL AND PROCEDURAL BACKGROUND

23        Defendant Johnson was an employee of WECO and worked at the

24   Lincoln facility.    He was one of several managers of that branch

25   and worked in the “Converter shop.”        The investigation of WECO

26   began sometime in early 2007, to determine whether there were

27   violations of the Federal Aviation Administration (“FAA”)

28   regulations in the repair and overhaul of airplane parts at
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 1   WECO’s facilities.     This investigation culminated in Defendant

 2   Johnson being subpoenaed to testify before the Grand Jury on

 3   March 4, 2010, and an original indictment being filed against him

 4   and other co-defendants on September 29, 2011.          During this time,

 5   the case was being prosecuted by Assistant United States Attorney

 6   (“AUSA”) Sean Flynn.     However, in July 2010, AUSA Flynn left the

 7   United States Attorneys’ Office, and AUSA Kyle Reardon took over

 8   the case.

 9        As discussed by the Court in a previous opinion in this

10   matter, the superseding indictment was filed on October 10, 2012.

11   Just nine days later, Defendant Johnson filed the pending Motion

12   to Dismiss the indictment.      Doc. #78.    After the matter was fully

13   briefed, this Court held a hearing on February 12, 2013.           At the

14   hearing, the Court expressed concerns about alleged

15   misrepresentations made to Defendant Johnson by AUSA Flynn.          An

16   evidentiary hearing was set, whereby AUSA Flynn was to be present

17   so that the Court could determine whether misrepresentations were

18   made by AUSA Flynn to Defendant Johnson regarding his status as a

19   target or subject of the investigation, warranting dismissal of

20   the indictment.     See Doc. #124, Reporter’s Transcript (“R.T.”)
21   pg. 24-42.    Prior to the hearing, the Government submitted a

22   supplemental brief, which included a declaration from AUSA Flynn.

23   Doc. #130.

24        On March 14, 2013, the Court conducted an evidentiary

25   hearing.     See Doc. #135.   Counsel for Defendant Johnson elicited

26   several pieces of critical testimony from AUSA Flynn during the
27   hearing, including that: (1) Flynn viewed Defendant Johnson as a

28   “cooperative and honest individual,” who was essentially a
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 1   whistleblower within the company and would “potentially be a key

 2   witness for the government;” (2) Flynn “viewed [Defendant

 3   Johnson] the same way that [he] viewed [another] individual, Matt

 4   Mortimer;” and (3) Flynn repeatedly stated he “never intended to

 5   charge [Defendant Johnson],” in this case.         AUSA Flynn admitted

 6   that he did not leave any notes in the case file memorializing

 7   his and his colleagues’ conclusion that Defendant Johnson should

 8   not be prosecuted in this matter.

 9        Defendant Johnson testified that just prior to his grand

10   jury testimony, AUSA Flynn told him “to just tell the truth and

11   everything would be ok.”      AUSA Flynn testified that he did not

12   recall having a conversation with the Defendant Johnson outside

13   the grand jury room, but agreed that it may have happened.

14   Defendant Johnson further testified that he understood that he

15   would not be prosecuted if he just told the truth in the grand

16   jury room.

17        AUSA Reardon questioned Defendant Johnson and challenged his

18   credibility by pointing to discrepancies between Defendant

19   Johnson’s testimony and a declaration filed with the Motion to

20   Dismiss, including that he did not mention his wife came with him
21   to the grand jury proceeding or that an agent was present with

22   AUSA Flynn outside the grand jury room.

23        At the conclusion of the hearing, the Court found that there

24   was no prosecutorial misconduct in this case, but ordered further

25   briefing on whether the doctrine of estoppel or selective

26   prosecution applies and whether the prosecutor has an affirmative
27   duty to notify an individual in the event his status changes from

28   witness or subject to target.       The supplemental briefs filed by
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 1   the parties have been received, read and considered by the Court,

 2   along with the entire record in this case.

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 4                                  II.   OPINION

 5        Through its supplemental brief, Defendant Johnson argues,

 6   inter alia, that fundamental fairness requires dismissal of the

 7   indictment.   Doc. #137.    Since the Government agreed not to

 8   prosecute Defendant Johnson and he relied on this agreement to

 9   his detriment, the Government must be held to the terms of the

10   agreement.    Id.   It is the Government’s position that there was

11   never an agreement between AUSA Flynn and Defendant Johnson, nor

12   did Defendant Johnson rely on any agreement to his detriment;

13   therefore, the indictment in this case should not be dismissed.

14   Doc. #141.

15        The parties agree that the traditional doctrine of estoppel

16   is inapplicable in this case, see Doc. #142, and it has not been

17   considered by this Court as a ground for dismissal.          The Court

18   agrees with Defendant Johnson that the doctrine of fundamental

19   fairness, instead, applies here.

20        “[T]he responsibility of federal prosecutors meticulously to
21   fulfill their promises,” is well-established.         United States v.

22   Hudson, 609 F.2d 1326, 1328 (9th Cir. 1979).         When a promise goes

23   unfulfilled, the principles of fundamental fairness authorize the

24   Court to hold the government to its agreement.          Indeed,

25   “[f]undamental fairness requires that promises made during plea-

26   bargaining and analogous contexts be respected.”          Johnson v.
27   Lumpkin, 769 F.2d 630, 633 (9th Cir. 1985) (citing Santobello v.

28   New York, 404 U.S. 257 (1971)) (other citations omitted).          Two
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 1   conditions must be satisfied in order to find that nonenforcement

 2   of an agreement would be fundamentally unfair: “(1) the agent

 3   must be authorized to make the promise; and (2) the defendant

 4   must rely to his detriment on that promise.”         Id. (citations

 5   omitted); see also United States v. Goodrich, 493 F.2d 390, 393

 6   (9th Cir. 1974) (“[W]hen the prosecution makes a “deal” within

 7   its authority and the defendant relies on it in good faith, the

 8   court will not let the defendant be prejudiced as a result of

 9   that reliance.”)

10        After careful review of the record as well as case law

11   presented by both parties, the Court finds there was an agreement

12   to not prosecute Defendant Johnson in this case.          The Court finds

13   Defendant Johnson’s testimony credible, even in light of the

14   Government’s attempt to discount his recollection of the

15   interaction with AUSA Flynn outside the grand jury room.           AUSA

16   Flynn’s representation to Defendant Johnson that he should “just

17   tell the truth and everything will be ok,” coupled with prior

18   interactions, formed an agreement not to prosecute Defendant

19   Johnson.   Cf. United States v. Minnesota Mining and Manufacturing

20   Co., 551 F.2d 1106 (8th Cir. 1977).        This agreement is further
21   evidenced by the fact that both AUSA Flynn and Defendant Johnson

22   believed and understood that Defendant Johnson would not be

23   prosecuted in this case.      As discussed below, Defendant Johnson

24   relied on this agreement to his detriment, such that it would be

25   fundamentally unfair to allow this case against him to proceed

26   any further.
27        Minnesota Mining is most analogous to the case at bar.           In

28   that case, the Eighth Circuit affirmed the dismissal of an
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 1   indictment based on an oral agreement not to prosecute.            551 F.2d

 2   1106.     The defendant and the government, however, vigorously

 3   disputed the existence or terms of any “representation or

 4   agreement foreclosing the prosecution of [the] defendants.”            Id.

 5   at 1108.    The district court held an evidentiary hearing

 6   regarding the “controverted and ambiguous” unwritten agreement at

 7   issue.     Id.   The defendants presented evidence that an agreement

 8   was reached whereby further prosecutions related to criminal

 9   activities of defendants and their company would be forgone

10   provided defendants “fully cooperat[ed]” in the remaining

11   investigation of the illegal activities at issue.          Id. at 1108-

12   10.   The government denied that any promises were made to the

13   defendants shielding them from further prosecution on tax crimes.

14   Id.     The district court found the defendants’ evidence credible

15   and held that there was indeed an agreement not to prosecute made

16   by the government, the defendants satisfied the terms of the

17   agreement, the government breached the agreement, and the

18   defendants relied on the agreement to their detriment.             See id.

19   at 1110-11.      As a result, the district court dismissed the

20   indictment.      Id.
21           Here, AUSA Flynn conveyed to Defendant Johnson, outside the

22   grand jury room, that Defendant Johnson would not be prosecuted

23   if he cooperated by “just telling the truth.”         Certainly this

24   included providing information that would inculpate Defendant

25   Johnson, as AUSA Flynn acknowledged during the evidentiary

26   hearing.    Defendant Johnson held up his end of the bargain by
27   testifying and providing information that was incriminating.            Cf.

28   Minnesota Mining, 551 F.2d at 1108-10.        It is clear that
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 1   Defendant Johnson relied on the agreement to his detriment.

 2   Indeed, Defendant Johnson testified that he expressed concern

 3   about getting an attorney prior to the proceeding.          See Doc.

 4   #135.    Had it been clear to Defendant Johnson that prosecution

 5   was a possibility, it is reasonable to conclude that his

 6   cooperation would have taken on a different form, including the

 7   retention of counsel before his grand jury appearance.              Id.

 8           Other Ninth Circuit authority supports the finding that

 9   fundamental fairness warrants a dismissal of the indictment.              In

10   United States v. Hudson, 609 F.2d 1326 (9th Cir. 1979), the court

11   held an investigator that promised the defendant he would not be

12   prosecuted did not have the authority to bind the government, and

13   therefore, no agreement to refrain from prosecution was formed.

14   However, the court noted several cases where an agreement was

15   formed and enforced, which support the Court’s conclusion here.

16   Unlike Hudson, AUSA Flynn had the authority to bind the

17   Government, made a promise not to prosecute, and this promise

18   went unfulfilled.    Similarly, in United States v. Goodrich, 493

19   F.2d 390 (9th Cir. 1974), the court held that the government did

20   not breach the terms of the verbal agreement reached between the
21   parties, nor did the defendants “jeopardize themselves or waive

22   any rights in reliance on the prosecution’s promise.”              Again, the

23   court recognized other circumstances under which fundamental

24   fairness would warrant enforcement of a promise, like the case at

25   bar.

26           It is also significant that AUSA Flynn saw Defendant Johnson
27   in the same light as Mr. Mortimer.       Mr. Mortimer was a manager at

28   WECO, just like Defendant Johnson, except that Mr. Mortimer had
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 1   more authority than Defendant Johnson.        Mr. Mortimer was

 2   represented by counsel during the WECO investigation, and his

 3   attorney had made handwritten notes that AUSA Flynn promised not

 4   to prosecute his client in exchange for his cooperation in the

 5   investigation.    As with Defendant Johnson, AUSA Flynn did not

 6   leave a memorandum memorializing this promise.          However, Mr.

 7   Mortimer was fortunate enough to have the assistance of counsel –

 8   after he brought the promise to AUSA Reardon’s attention, the

 9   agreement was confirmed by AUSA Flynn, and as a result, Mr.

10   Mortimer was not prosecuted.      Since Defendant Johnson was not

11   represented by counsel prior to the indictment, there was no one

12   to confirm the existence of the promise, other than AUSA Flynn.

13   Defendant Johnson should not be subject to prosecution simply

14   because he was not represented by counsel and AUSA Flynn failed

15   to memorialize, in writing, this non-prosecution agreement.

16   Indeed, it is troubling that Defendant Johnson abided by the

17   agreement, 18 months went by as he relies on this promise, the

18   Government did not contact him at any time following his grand

19   jury testimony, then suddenly he was indicted.          If Defendant

20   Johnson had been represented by counsel, or if AUSA Flynn had
21   notified AUSA Reardon of his promise not to prosecute Defendant

22   Johnson, this case would have progressed in a very different

23   manner, i.e., Defendant Johnson would have never been named as a

24   defendant.   It is clear to this Court that, just as the

25   Government honored AUSA Flynn’s promise to Mr. Mortimer, it would

26   have honored its agreement with Defendant Johnson if AUSA Flynn
27   had somehow made AUSA Reardon aware of the agreement prior to the

28   indictment being drafted and presented to the grand jury.
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 1        The Government expresses concern that a finding for

 2   Defendant Johnson in this case will create a precedent that

 3   anytime an AUSA attempts to calm a potential witness before the

 4   grand jury it will translate into an agreement not to prosecute.

 5   Doc. # 141.   The Court does not share this concern. This case

 6   presents a unique fact pattern in which both the original AUSA

 7   assigned to the case and Defendant Johnson understood that

 8   Defendant Johnson would not be prosecuted but this understanding

 9   was never communicated to the subsequent AUSA who had the

10   responsibility of drafting and presenting the indictment to the

11   grand jury.   Other cases are unlikely to present these same

12   circumstances.    AUSA Flynn admitted he should have conveyed his

13   intention not to prosecute Defendant Johnson, and as expressed

14   above, the Court has no doubt that this agreement would have been

15   honored.

16        Finally, dismissal is a remedy that lies well within the

17   Court’s discretion.     See Minnesota Mining, 551 F.2d at 1111-12.

18   The Court finds the circumstances of this case to be so

19   extraordinary that dismissal is the only appropriate remedy.

20   AUSA Flynn should have left a memo, making clear that Defendant
21   Johnson was never supposed to be indicted. Simply striking

22   Defendant Johnson’s grand jury testimony, as the Government

23   suggests, does not go far enough.        The Court hereby enforces the

24   promise AUSA Flynn made to Defendant Johnson and orders the

25   indictment dismissed against him.

26                                   III. ORDER
27        For the reasons set forth above, the superseding indictment

28   filed on October 10, 2012 against Defendant Douglas Arthur
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 1   Johnson is dismissed with prejudice.

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 3        IT IS SO ORDERED.

 4   Dated: May 13, 2013                ____________________________
                                        JOHN A. MENDEZ,
 5                                      UNITED STATES DISTRICT JUDGE
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